Case 2:17-CV-01462-.]HS Document 112 Filed 04/05/18 Page 1 of 2
Cq§e W””/’B’¢.’Z

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MO/L/éz William Francis Galvin

Secretary of the Commonwealth of Massachusetts

UNITED STATES TREASURY
1500 PENNSYLVANIA, NW
WASHINGTON, DC 20220

To Whom It May Concern:

This letter serves as notification that the SOC has received your filing
information Your filing has been assigned a filing number of 201844534160 and
Was filed on 3/14/2018 8:54:00 AM. The Secretary of the Commonwealth of
Massachusetts thanks you for your compliance

Sincerely,

William Francis Galvin
Secretary of the Comrnonwealth

Corporations Division ' One Ashbunon Place, 17th Floor ' Boston, MA 02108

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IVIA SOC Fi|ing Number: 201844534160 Date: 3/14/2018 8254:00 AM

UCC-l Form

 

FILER INFORMATION
Full name.' ORLANDO
Email Contact at Filer: 0RLANDOAC0STA979@GMA1L.€0M
SEND ACKNOWLEDGEMENT TO
Contact name.' UNI'I`ED STATES TREASURY
Mailing Address: 1500 PENNSYLVANIA, NW
City, State Zip Country.' WASHINGTON, DC 20220 USA

DEBTOR INFORMATION
Org. Name: ORLANDO ANTONIO ACOSTA
Mal`ll`ngAddress.’ NORTH OFFICE BU]LDING
City, State Zip Country.' HARRISBURG, PA 17120 USA
Org. Name.' ROCHELLE HARRISON ACOSTA
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Cz'ty. State Zip Country: HARRISBURG, PA 17120 USA

sEcuRED PARTY INFORMATION
L“S’ N“"’e ("‘e' F“’"”y ACoSTA Firs¢Name.- 0RLANI)0 Middze Name.- ANTONIo

Name or Surname).'
Mailing Address.' 5355 BELFIELD AVENUE
City, State Zip Country: PHlLADELPHIA, PA 19144 USA

 

TRANSACTION TYPE: TRANleTTING UTILITY
ALTERNATIVE DESIGNATION: BAlLEE-BMLoR
COLLATERAL IS HELD IN A TRUST

 

COLLATERAL

ALL PROPERTY BELONGlNG TO DEBTOR/BAlLEE BELONGS To SECURED PARTY. ALL PROPERTY AND PERSONS OF SECURED FARTY sUBJECT To cLAiM AND
DEFENSES BY sECuRED PART¥: DECLARATION OF INDEPENDENCE FOR THE PROTECTION AND DEFENSE 01= THE SELF-EVIDENT TRUTH, AND STATE As
ADMlleTRATOR AND USUFRUCTuARY, AND: SEcURED PARTY RETA[NS QUlET ENJOYMENT or PROPERTY AND PERSONS wlTH cARE AND MAINTENANCE
PROVIDF.D BY usUFRUCTUARY. REVERSIONARY INTEREST AssIGNED TO AND FOR THE ACCOUNT oF UNlTED STATES UPON THE CONDmON PROPERTY
So RECEIVED BE sOLD AND THE PROCEEDS USED TO REDUCE THE PUBL!C DEBT AS GIFT oF GRATlTuDE FOR EXTENS!ON 0F HOSPITALlTY FOR THE GIFT OF

QUiET ENJOYMENT, INNocENT PAsSAGE AND SAFE HARBOR PER lZUSC92(A)2

